Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 1 of 11




                     EX. 12
Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 2 of 11


                           George Hopkins

                                                                     1

                                          Volume:     1

                                          Pages:    1-115



                                JAMS

 Reference No. 1345000011/C.A. No. 11-10230-MLW



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 In Re:     STATE STREET ATTORNEYS FEES

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 BEFORE: Special Master Honorable Gerald Rosen,

            United States District Court, Retired




                 DEPOSITION of GEORGE HOPKINS

             September 5, 2017, 9:20-11:26 a.m.

                                JAMS
                       One Beacon Street

                      Boston, Massachusetts




         Court Reporter:       Paulette Cook, RPR/RMR

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       Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 3 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                                     September 5, 2017
                                                   Page 14                                                     Page 16

 1    relation -- that the procurement was stale, and I
 2    didn't have to enter it if I didn't want to. And I
 3    told 'em -- I figured four was enough at the time.
 4       THE SPECIAL MASTER: George, could you
 5    remind us just what year did you become the
 6    executive director?
 7       THE WITNESS: I became executive
 8    director December 29, 2008.
 9       BY MR. SINNOTT:
10   Q. And, Mr. Hopkins, you took over for an
11    executive director named Doane; is that correct?
12   A. Actually, there was a period of time when
13    Mr. Doane left and I arrived that he resigned
14    sometime in the fall, and the deputy -- the lady who
15    was my deputy director at the time -- she's since
16    had a stroke and works very part time -- became
17    interim director.
18      So there was Paul Doane, Gail bold even
19    as interim director, and then I -- I replaced the
20    interim director.
21   Q. And --
22   A. I think she was there three or four months.
23    I'm sorry to jump on top of you. I'll be better
24    next time.

                                                   Page 15                                                     Page 17

                                                              1   to you. I don't know if it was in the deposition or
                                                              2   in our more informal discussion.
                                                              3       After I got there, Bernstein brought to
                                                              4   me a cert- -- I didn't know what it was at the
                                                              5   time -- a certification to enter a case. I told him
                                                              6   I was really just too busy to mess with that kind of
                                                              7   thing and really wasn't interested in securities
                                                              8   litigation. I was more focused on a bunch of things
                                                              9   we had going on.
                                                             10       That was probably -- I don't even -- it
                                                             11   was in the spring -- late winter, early spring of
                                                             12   2009, and that's when, you know -- you know, some of
                                                             13   the legislative leaders called me over to the
                                                             14   Capitol and said they thought we ought to be
                                                             15   involved in securities litigation, and the other
                                                             16   Retirement System was, and they thought we ought to
                                                             17   be, too.
                                                             18       And so then I said, okay, I'll look at
                                                             19   those and consider 'em, and I talked to my board
                                                             20   chair. And he said, hey, you know, if it's -- if
                                                             21   the legislature's interested and you have time to do
                                                             22   it, hey, you know, just figure out what it's all
                                                             23   about.
                                                             24       And so I started learning about how it

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       Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 4 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                                     September 5, 2017
                                                  Page 18                                                      Page 20

 1    worked. So probably within four to six months after   1     we actually --
 2    I got there I became aware of the securities cases    2        THE SPECIAL MASTER: Was that firm one
 3    and how they worked.                                  3     of the monitoring counsel at the time?
 4        BY MR. SINNOTT:                                   4        THE WITNESS: No, no. They'd never --
 5   Q. And did the legislators that called you over        5     they never monitored for us. They just applied to
 6    indicate why they were interested in securities       6     be one.
 7    litigation?                                           7        THE SPECIAL MASTER: I see.
 8   A. I got the idea that, you know, they                 8        THE WITNESS: No, they never -- they
 9    understood the Retirement System had a lot of, you    9     never made that cut.
10    know, financial issues. I mean, obviously, we        10        BY MR. SINNOTT:
11    did -- when I got there, our system was in deep      11    Q. Do you remember where that firm was out of?
12    trouble both operationally, I think politically      12    A. Philadelphia.
13    because they thought that the system didn't have a   13    Q. Out of Philadelphia?
14    strong board, didn't have strong leadership, and we 14     A. Yeah. I remember that because -- 'cause my
15    were, obviously, in trouble actuarially, you know, 15       grandmother always had this saying, you know, he's
16    when you have those kind of losses, and I think they 16     dressed like a Philadelphia attorney.
17    thought, you know, part of my duty was to bring in 17         And so I remember -- I walked in and
18    all the money I could. That was sort of the message 18      thought, you know, my grandmother would be proud
19    I got.                                               19     'cause that guy was dressed to the nines. I'm
20   Q. Did any of the legislators indicate that           20     sorry. That's my own little side.
21    they had contact with any law firms with respect to 21     Q. We appreciate the insights.
22    potential litigation?                                22        Were you aware that members of a law
23   A. You know, that -- they didn't -- the one           23     firm with a Little Rock office had introduced
24    thing I think I told you before in a later meeting I 24     individuals that you later would come to know as

                                                  Page 19                                                      Page 21

                                                             1    Eric Belfi and Chris Keller to influential Arkansas
                                                             2    officials in an effort to secure legal work with the
                                                             3    state?
                                                             4   A. I had no idea.
                                                             5   Q. Are you familiar with the firm name of
                                                             6    Chargois & Herron?
                                                             7   A. As of about two weeks, ten days ago.
                                                             8   Q. But you never encountered them to the best
                                                             9    of your recollection years ago?
                                                            10   A. I had never heard of that firm before.
                                                            11   Q. Did Gail or Paul or the records that you
                                                            12    examined when you became executive director reveal
                                                            13    that firm's name anywhere?
                                                            14   A. As I told you, I never -- to this day I have
                                                            15    not looked at the records about how Labaton became
                                                            16    involved with us. The only records that relate back
                                                            17    to that time I looked at was this Texarkana,
                                                            18    Arkansas firm, and I won't tell you too much of the
                                                            19    story, but these guys showed up at my office,
                                                            20   demanded to meet with me I said about a year, maybe
                                                            21    nine months after I got there.
                                                            22      And this guy said I'm a Harvard-educated
                                                            23    lawyer and, you know, you've got to sign this
                                                            24    contract because y'all agreed to do this, and

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                                            617-451-8900 603-669-7922
      Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 5 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                                      September 5, 2017
                                                  Page 34                                                       Page 36

                                                             1    -- he never chaired the committee but he was -- in
                                                             2    the senate -- he ended up in the senate, and in the
                                                             3    senate he was the one that handled almost all the
                                                             4    hard, complex legislation for the retirement
                                                             5    systems, and he was what I would call, you know, one
                                                             6    of the -- leaders is not the -- you know, a
                                                             7    benevolent leader to ensure the retirement systems
                                                             8    had the resources they needed.
                                                             9       THE SPECIAL MASTER: So I assume you
                                                            10    knew him from your service --
                                                            11       THE WITNESS: I did.
                                                            12       THE SPECIAL MASTER: -- in the house and
                                                            13    the senate?
                                                            14       THE WITNESS: Right. I was never in the
                                                            15    house but from his service in the house.
                                                            16       THE SPECIAL MASTER: I'm sorry. Yep.
                                                            17       BY MR. SINNOTT:
                                                            18   Q. And you were a chair of a committee in the
                                                            19    senate, correct?
                                                            20   A. The only --
                                                            21   Q. Retirement committee?
                                                            22   A. Well, I may have chaired the rules committee
                                                            23    or something. The senate is sort of a select
                                                            24    committee, but the only -- I always chose the

                                                  Page 35                                                       Page 37

 1      THE SPECIAL MASTER: On Arkansas it
 2   says, "On Arkansas the senator is going to come
 3   visit us at the end of the month."
 4      Assuming that's Arkansas Teachers, do
 5   you know what senator that would have been?
 6      THE WITNESS: Well, I think from my
 7   discussions with, you know, my non-attorneys here I
 8   think that was probably a senator named Steve
 9   Farris.
10      THE SPECIAL MASTER: Was he at the time
11   -- was he on the retirement system committee?
12      THE WITNESS: He was on -- it's on the
13   retirement -- joint retirement committee
14   legislature.
15      In fact, he was probably the
16   longest-serving member of the retirement committee.
17   He was, you know -- I will say this: Before I left
18   the legislature, for better/for worse, I was known
19   as the retirement expert in the legislature.
20      When I left, there was a pretty
21   good-sized hole. Steve Farris had been on the
22   retirement committee for two or three terms by then,
23   and I think later -- I think he was -- he was
24   cochair once when he was in the house, but he never


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      Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 6 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                            September 5, 2017
                                          Page 58                                                     Page 60

                                                     1     You know, when -- the first case I did
                                                     2   with Labaton was Colonial Bank. And those were some
                                                     3   egregious facts in Colonial Bank. Those -- if they
                                                     4   didn't hang those guys up and put 'em in jail a long
                                                     5   time, which I don't think they did, you know,
                                                     6   justice was not served, and they took advantage of
                                                     7   us and a bunch of others.
                                                     8      So, you know, the first time that Eric,
                                                     9   you know, wanted to talk to me about doing this
                                                    10   case, he wanted -- you know, he wanted me to
                                                    11   understand everything about what all they were
                                                    12   doing.
                                                    13      He asked me if I knew any local counsel
                                                    14   in Alabama that I was interested in. You know, he
                                                    15   was -- I think he asked if I wanted to hire Arkansas
                                                    16   counsel that would help them assist me in
                                                    17   understanding the case, and I told him that I
                                                    18   expected the attorneys to handle the attorney stuff
                                                    19   because, you know, once you become the gatekeeper of
                                                    20   what law firms are hired, then suddenly I become the
                                                    21   -- the last thing I wanted was to have any knowledge
                                                    22   or power about what law firms were hired and what
                                                    23   they did because once you have that, then the
                                                    24   pressure comes.

                                          Page 59                                                     Page 61

                                                     1      You know, I wanted the law firms that
                                                     2   represent us to represent us and not -- and not pay
                                                     3   -- not pay a price in order to -- that I determined
                                                     4   saying, well, you've got to hire this firm over here
                                                     5   this time as my local counsel; you've got to do this
                                                     6   or that.
                                                     7      I wanted them to know I only had one
                                                     8   focus. When I do these cases, I have one focus, and
                                                     9   that is to get a good outcome. I'm not trying to be
                                                    10   a referee. I'm not trying to be a bank teller. I'm
                                                    11   not trying to be somebody that directs fees to one
                                                    12   law firm or another, and I -- I didn't want that.
                                                    13   And I don't want that.
                                                    14       Let me tell you since this thing came
                                                    15   up, you would think the first thing I would do is
                                                    16   maybe call the other four law firms I have and ask
                                                    17   if they have a referring attorney agreement, and I
                                                    18   haven't. And I won't. You know why?
                                                    19       Because the firms that we have are
                                                    20   honest, and they're ethical. And I will believe
                                                    21   that until they prove to me otherwise. I don't -- I
                                                    22   want them to hire the best law firms in the states
                                                    23   where we're litigating. I want them to have no
                                                    24   obligation to hire people that I direct. I want

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      Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 7 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                            September 5, 2017
                                          Page 62                                                     Page 64

                                                     1      THE SPECIAL MASTER: Let's get down to
                                                     2   brass tax here.
                                                     3      THE WITNESS: Okay.
                                                     4      THE SPECIAL MASTER: Were you aware that
                                                     5   Labaton had this relationship going back to before
                                                     6   you came with this firm Chargois Herron -- Chargois
                                                     7   & Herron?
                                                     8      THE WITNESS: No.
                                                     9      THE SPECIAL MASTER: You weren't aware
                                                    10   of that at all?
                                                    11      THE WITNESS: I was not aware of that at
                                                    12   all.
                                                    13      THE SPECIAL MASTER: Were you aware that
                                                    14   in every case in which you -- you Arkansas -- was a
                                                    15   lead plaintiff or co-lead plaintiff that under this
                                                    16   agreement Mr. Chargois and his firm would get 20
                                                    17   percent of whatever Labaton received in the event of
                                                    18   a settlement or successful prosecution of the case?
                                                    19   Were you aware of that?
                                                    20      THE WITNESS: I was not.
                                                    21      THE SPECIAL MASTER: Were you aware that
                                                    22   in fact there were -- I don't know -- ten cases
                                                    23   maybe? -- in which Mr. -- in which Mr. Chargois got
                                                    24   20 percent effectively of the Labaton fee?

                                                                                                      Page 65

                                                     1      THE WITNESS: I was not. But let me
                                                     2   go --
                                                     3      THE SPECIAL MASTER: Just a minute.
                                                     4      THE WITNESS: Okay.
                                                     5      THE SPECIAL MASTER: Okay? In any of
                                                     6   these cases as the client representative, was it
                                                     7   ever disclosed to you that Mr. Chargois was going to
                                                     8   receive 20 percent of Labaton's fee?
                                                     9      THE WITNESS: No.
                                                    10      THE SPECIAL MASTER: And would that
                                                    11   include the State Street case?
                                                    12      THE WITNESS: That would include State
                                                    13   Street.
                                                    14      THE SPECIAL MASTER: So at no time was
                                                    15   it disclosed to you that in the distribution of the
                                                    16   fees Mr. Chargois would get, effectively, a referral
                                                    17   fee of 20 percent of the Labaton fee?
                                                    18      THE WITNESS: It was never disclosed to
                                                    19   me.
                                                    20      THE SPECIAL MASTER: Putting it more
                                                    21   specifically, was it disclosed to you that in this
                                                    22   case Mr. Chargois got 5.5 percent of the total
                                                    23   attorneys' fees, the 75-million-dollar attorney fee?
                                                    24      THE WITNESS: No.

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                                     617-451-8900 603-669-7922
      Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 8 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                                    September 5, 2017
                                                  Page 66                                                     Page 68

 1      THE SPECIAL MASTER: Was it disclosed to              1      THE WITNESS: I'll take it upon your
 2   you that he received 4.1 million dollars?               2   word that there's an agreement. I haven't seen it.
 3      THE WITNESS: Well, since this --                     3      THE SPECIAL MASTER: You've not seen the
 4      THE SPECIAL MASTER: Before -- before                 4   agreement?
 5   the fees were approved.                                 5      THE WITNESS: No. But if you say there
 6      THE WITNESS: Let me --                               6   is, I trust you.
 7      THE SPECIAL MASTER: Just before the                  7      THE SPECIAL MASTER: Did you know that
 8   fees were approved was it disclosed to you?             8   there was a decision made not to disclose the
 9      THE WITNESS: No. My answer as to that                9   existence of this agreement to other counsel in the
10   qualification of those questions are correct.          10   case?
11      THE SPECIAL MASTER: Was it disclosed to             11      By "other counsel" I mean the ERISA
12   you that Mr. Chargois received this money, and it      12   counsel, the counsel that were representing the
13   was not disclosed in the fee petition to the Court?    13   ERISA class.
14      THE WITNESS: I've asked about -- I've               14      THE WITNESS: I have -- I have no
15   asked about that.                                      15   knowledge of that.
16      THE SPECIAL MASTER: And?                            16      THE SPECIAL MASTER: So none of this was
17      THE WITNESS: Well, I asked Ms. -- I                 17   ever bounced off of you?
18   asked Miss Lukey was that a violation of any rule or   18      THE WITNESS: But, you know -- can I --
19   law in Massachusetts. She told me no.                  19   no.
20      THE SPECIAL MASTER: That'll be in the               20      THE SPECIAL MASTER: Okay. Now --
21   first instance for me to decide.                       21      THE WITNESS: Can I qualify that now?
22      THE WITNESS: Oh, I understand, but I'm              22      THE SPECIAL MASTER: Yes.
23   just saying --                                         23      THE WITNESS: In the Colonial Bank case
24      THE SPECIAL MASTER: But all I'm asking              24   I told Eric if I ever want to know about your

                                                  Page 67                                                     Page 69

 1   you, George, right now --                               1   attorney fees and who all you hired, I'll ask you.
 2      THE WITNESS: Okay.                                   2   And, you know, on any case because I intentionally
 3      THE SPECIAL MASTER: -- is was it                     3   didn't want to know a whole lot.
 4   disclosed to you that it was not disclosed to the       4      THE SPECIAL MASTER: And that's a good
 5   Court?                                                  5   question. When you said if -- when you told Eric if
 6      THE WITNESS: No -- oh, it was -- let                 6   I ever want to know about other attorneys that you
 7   me --                                                   7   hire, I'll ask you --
 8      THE SPECIAL MASTER: Before --                        8      THE WITNESS: Well, I'm --
 9      THE WITNESS: No. I want to make sure I               9      THE SPECIAL MASTER: -- Mr. Chargois did
10   -- it was not -- the fact that that fee -- that a      10   no work -- as far as we know, did no work on any of
11   referral fee was paid was not disclosed to me.         11   these cases.
12      THE SPECIAL MASTER: Okay.                           12      What he did, according to the
13      THE WITNESS: Before the last -- the                 13   information we've been given, was at the very
14   last two weeks or something.                           14   beginning of the relationship in 2007 he facilitated
15      THE SPECIAL MASTER: Were you aware that             15   the relationship with Labaton in Labaton becoming
16   there was this agreement dating back to 2007 that      16   one of the monitoring counsels.
17   Mr. Doane had -- apparently, he was aware of -- that   17      And from what we've been able to see --
18   Mr. Doane had agreed to have Mr. Chargois receive 20   18   and I'll stand corrected if other witnesses correct
19   percent of every fee in which Arkansas was the lead    19   this -- but from what we've been able to see, as a
20   plaintiff or co-lead plaintiff and Labaton was lead    20   result of that relationship development and
21   or co-lead counsel?                                    21   facilitation, he now is entitled to 20 percent of
22      THE WITNESS: To this day I don't                    22   every single case in which Arkansas is -- 20 percent
23   know --                                                23   of Labaton's fee or an amount equivalent to that in
24      THE SPECIAL MASTER: You've not seen --              24   which Arkansas is a lead plaintiff or co-lead

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                                            617-451-8900 603-669-7922
      Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 9 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                             September 5, 2017
                                          Page 70                                                      Page 72




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                                          Page 71                                                      Page 73

                                                     1   first of all, let me tell you I don't -- you know, I
                                                     2   haven't tried to get too deep into this because, you
                                                     3   know, I'm going to let you get deep into it, but let
                                                     4   me say I'm not sure whether Massachusetts law
                                                     5   applies or Arkansas law or some other state law.
                                                     6      I mean there's a lot of conflicts of law
                                                     7   issues --
                                                     8      THE SPECIAL MASTER: We're going to all
                                                     9   kill a lot of trees finding that out.
                                                    10      THE WITNESS: Yeah, but I will say this:
                                                    11   You know, that I don't -- I don't feel misled
                                                    12   because I made it real clear to them I didn't want
                                                    13   to be the gatekeeper on all this attorney
                                                    14   relationship.
                                                    15      And I think if they thought that I
                                                    16   wanted to know, they would have told me because Eric
                                                    17   always said if you ever want to see how we do all
                                                    18   these fees, just let me know. And I said that's
                                                    19   fine.
                                                    20      THE SPECIAL MASTER: Then let me ask you
                                                    21   this: As the representative of the lead plaintiff
                                                    22   in this case, don't you think you had an obligation
                                                    23   to know where all the money is going?
                                                    24      THE WITNESS: I sure don't.

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                                     617-451-8900 603-669-7922
      Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 10 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                                                    September 5, 2017
                                                  Page 74                                                     Page 76

 1      THE SPECIAL MASTER: Why?                             1   in a non-adversary proceeding, which this was, is a
 2      THE WITNESS: Because -- well, first of               2   better practice?
 3   all, where does it end? If the secretaries in the       3      THE WITNESS: Let me say this: I've
 4   firm got a bonus do I need to know that? You know,      4   spent enough time with you now that I can feel your
 5   if --                                                   5   -- your passion's not the right word -- your --
 6      THE SPECIAL MASTER: Not quite the same               6      THE SPECIAL MASTER: Skepticism.
 7   as paying a lawyer for doing nothing 20 percent of a    7      THE WITNESS: -- skepticism or whatever
 8   fee.                                                    8   you want to call it. Let me just say this: I have
 9      THE WITNESS: But let me finish, judge.               9   a feeling -- I have a feeling that from here on out
10      You know, first of all, you know, when              10   Judge Wolf will probably have a line in his order
11   you -- as I told you, when you become the              11   that all referral fees shall be disclosed. And that
12   gatekeeper, you know, the -- Judge Wolf for good,      12   eliminates the issue.
13   for right, wrong or indifferent, he set this           13      THE SPECIAL MASTER: You keep referring
14   attorney fee. And I'm not --                           14   to this as a referral fee, but it is not at all in
15      THE SPECIAL MASTER: He didn't know what             15   the nature of a referral fee that you described. I
16   he didn't know.                                        16   don't know what it is. We've had a lot of different
17      THE WITNESS: I understand, but, you                 17   names given to it.
18   know, to the extent that Labaton had a legal or a      18      THE WITNESS: Well, for the sake of this
19   assumed legal or ethical obligation to pay this        19   -- of this deposition, I will call it a referral
20   firm, you know, Labaton's fee would have been no       20   fee. It might be some other kind of fee. I don't
21   different if they paid it or not paid it from what I   21   -- I don't know. You know, if you tell me what to
22   can see.                                               22   call it, I will call it that.
23      You know, if Miss Lukey is right that in            23      THE SPECIAL MASTER: Well, you know,
24   Massachusetts a referral fee does not have to be       24   Mr. Sucharow used a term -- we've had local counsel.

                                                  Page 75                                                     Page 77

 1   disclosed to the Court, then, you know -- you know,
 2   for me to -- for me to know how Labaton divided up
 3   their fees, I didn't ask how much Thornton got. I
 4   didn't ask how much anybody got because, you know
 5   what, law firms have a way -- you know, once you
 6   inject yourself into helping law firms divide up
 7   fees, that's not helping -- the class was not going
 8   to get one penny more.
 9      The class was not going to get one penny
10   more out of that case once the judge set the term --
11      THE SPECIAL MASTER: Let me ask you
12   this, Mr. Hopkins.
13      THE WITNESS: Yeah?
14      THE SPECIAL MASTER: Had this
15   relationship been disclosed to Judge Wolf, might he
16   not have said, well, wait a minute, that's an awful
17   lot of money to be going to a lawyer who hasn't done
18   anything on the case, did no work, didn't refer this
19   specific case at all, and maybe the class should get
20   some of that money, or maybe the ERISA counsel
21   should get some of that money rather than this
22   lawyer in Texas who was not involved at all in this
23   case?
24      Isn't that why disclosure to the Court

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                                            617-451-8900 603-669-7922
      Case 1:11-cv-10230-MLW Document 401-11 Filed 07/23/18 Page 11 of 11 George Hopkins
In Re: State Street Attorneys Fees
                                                                          September 5, 2017
                                                  Page 78                           Page 80

 1       THE SPECIAL MASTER: How can the judge
 2   decide, George, if he doesn't know?
 3       THE WITNESS: Well, again, I -- I
 4   understand your point, but I can also understand the
 5   point that if it's coming out of their share and
 6   it's a share that the attorneys and everybody have
 7   no dispute over, you know, if the ERISA attorneys or
 8   somebody else had said we don't think they ought to
 9   get --
10       THE SPECIAL MASTER: George, let me ask
11   you this. You're a lawyer.
12       THE WITNESS: I am.
13       THE SPECIAL MASTER: The judge has to
14   decide in a fairness hearing determining whether the
15   class is being treated fairly; if there are any
16   objections, he has to rule on the objections; and as
17   a part of that, the judge has to determine if the
18   fee is a fair fee and whether the allocation within
19   the fee is fair to all of the attorneys.
20       Now some judges care less about the
21   allocation of fees, and other judges care a lot
22   more.
23       How can a judge -- so my question to you
24   is how can a judge decide these questions without

                                                  Page 79                           Page 81

 1   having full information of where all of the money is
 2   going?
 3      THE WITNESS: Well, first of all, I'm
 4   not sure the judge ever gets full information on how
 5   all the money is going.
 6      Yeah, unless --
 7      THE SPECIAL MASTER: Well, shouldn't he?
 8      THE WITNESS: What?
 9      THE SPECIAL MASTER: Or she?
10      THE WITNESS: What?
11      THE SPECIAL MASTER: Shouldn't the
12   judge --
13      THE WITNESS: Well, I don't know --
14      THE SPECIAL MASTER: -- in a class
15   action?
16      THE WITNESS: I mean what level of
17   specificity would a judge want? Like how the
18   partners who worked in the case versus not?
19      I -- you know, I'm not trying to be
20   argumentative --
21      THE SPECIAL MASTER: This is somebody
22   who did no work on the case. Never filed an
23   appearance. Was never before the Court. Was never
24   subject to the Court's jurisdiction. Was never

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